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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. SA CV 11-0493-DOC (JCGx)                                Date August 8, 2017

Title: CATHERINE E. AVILEZ V PINKERTON GOVERNMENT SERVICES, INC.

Present: The Honorable David O. Carter




                 Deborah Goltz                                           N/A
                Deputy Clerk                                    Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:




Proceedings:    G In Court          G
                                    ✘ In Chambers       G Counsel Notified

G Case previously closed in error. Make JS-5.

✘ Case should have been closed on entry dated 4/17/17
G                                                                       .

G Case settled but may be reopened if settlement is not consummated within                        days.
  Make JS-6.

G Other

G Entered                                  .




                                                                 Initials of Preparer       djg




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
